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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

  In re:
  LEGACY GLOBAL SPORTS, L.P.,                    Ch. 7
    Debtor                                       20-11157-JEB


                             Proceeding Memorandum and Order

MATTER:
#40 Motion filed by Debtor Legacy Global Sports, L.P. To File Portions of Schedules and Creditor
Matrix Under Seal

Decision set forth more fully as follows:
Hearing held. For the reasons set forth on the record, the hearing is continued to July 1, 2020 at
2:30 p.m. By June 29, 2020, the Debtor shall file a supplement to the motion including (i) one or
more combined notices of the Section 341 meeting for this debtor and the related debtors
substantially in the form of Official Form 309D; and (ii) a proposed order on the Motion. Since the
proof of claim deadline is not the same in each of these related cases, the combined notice should
clarify which deadline applies to a particular case.

                                                 By the Court,




                                                 Janet E. Bostwick
                                                 United States Bankruptcy Judge

                                                 Dated: 6/26/2020
